 Case 9:20-md-02924-RLR Document 7096-1 Entered on FLSD Docket 11/01/2023 Page 1 of 2


Paula Acaldo

From:                Rania Kajan <RKajan@KSLAW.com>
Sent:                Monday, October 30, 2023 4:15 PM
To:                  Paula Acaldo; Julia Zousmer
Subject:             RE: Creel - Entry of Final Judgment

Follow Up Flag:      Follow up
Flag Status:         Flagged


Hi Paula,

No objec ons from the Brand Defendants, but you will need to reach out to retailers’ counsel (CVS) to obtain their
consent, as this case did not ﬁt the criteria for inclusion on any Exhibits the Brand Defendants prepared (7&8) given that
the ac on was ﬁled before 11/15/21 and also named non‐Brand Defendants.

Best,
R.


–––
Rania Kajan
Senior Associate

T: +1 404 572 2492 | M: +1 404 476 1453 | E: rkajan@kslaw.com | Bio | vCard

King & Spalding LLP
1180 Peachtree Street, NE
Suite 1600
Atlanta, GA 30309




kslaw.com
From: Paula Acaldo <pacaldo@plgroupla.com>
Sent: Monday, October 30, 2023 4:30 PM
To: Julia Zousmer <jzousmer@kslaw.com>
Cc: Rania Kajan <RKajan@KSLAW.com>
Subject: Creel ‐ Entry of Final Judgment
Importance: High

CAUTION: MAIL FROM OUTSIDE THE FIRM
Good A ernoon:

In reviewing the Courts Rule 58 Final Judgment Order (DE 6974) our clients, RICKY and BECKY CREEL (Case No.
9:21‐cv‐81428), were not included in any of the exhibits a ached to the Order.
We wish to ﬁle an unopposed Mo on for Entry of Final Judgment. Please advise if you have any objec ons.

Thank you,

                                                            1                                  EXHIBIT "A"
                 Case 9:20-md-02924-RLR Document 7096-1 Entered on FLSD Docket 11/01/2023 Page 2 of 2


Paula Acaldo
Paula Acaldo
Paralegal to M ichael C . Palm intier
Palm intier Law G roup
618 M ain Street
B aton R ouge, Louisiana 70801
Telephone: 225-344-3735
Facsim ile: 225-344-0522
D irect:     225-408-5231
N ote N ew Em ail: pacaldo@ plgroupla.com




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Smokeball Reference: 47024598‐bf3d‐4bf6‐a54d‐2dab1c5e13a7/787e5f8d‐c3b6‐4f07‐96c6‐8580138fb777. Smokeball Reference V3: 625db6bf‐d0ae‐4b61‐b90c‐c8163f39df22_47024598‐bf3d‐4bf6‐a54d‐2dab1c5e13a7_787e5f8d‐c3b6‐4f07‐96c6‐8580138fb777.




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